Case 2:05-cr-20188-.]PI\/| Document 25 Filed 07/22/05 Page 1 of 3 Page|D 28

IN THE UNITED S'I`ATES DISTRIC'I` COURT Fu‘ED BY"'&D’°'
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

wESTERN DIVISION 95 JUL 22 PH \’ 59
TI'UMSM.GOU.D
MU.&_D!STFB§TCUH
UNITED STATES oF AMERICA WDOH?-J:EM!S
Plaintiff,
v. Criminal No. §Zi; ZLO/JQVMl
<j;LVKQJ :[i;? (60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSEN'I' ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, SeDtember 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

This document entered on the docket Sheet in compliance
with Rula 55 and/or 32(b) sqch on " ‘:

Case 2:05-cr-20188-.]PI\/| Document 25 Filed 07/22/05 Page 2 of 3 Page|D 29

SO oRDERED this 22md day of July, 2005.

Q@m‘w

JON PHIPPS MCCALLA
UN ED S'I'ATES DIS'I'RIC'I‘ JU`DGE

 

 

 
    
 

Assistant States Atto ney

 

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Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20188 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

